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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

 UNITED STATES OF AMERICA,

                            Plaintiff,

 -vs-                                               Case No. 5:03-cv-436-Oc-10GRJ

 EDDIE RAY KAHN, et al.,

                     Defendants.
 _____________________________________/

                                           ORDER

         This case is before the Court for consideration of the United States’ Motion for

 Summary Judgment Against Defendant Milton H. Baxley II (Doc. 141). Defendant Baxley

 has responded (Doc. 144) by filing an affidavit which creates a number of issues of fact

 sufficient to foreclose the entry of summary judgment. Accordingly, the motion for summary

 judgment (Doc. 141) is DENIED.

         The Clerk is directed to schedule this case for trial for the trial term commencing in

 December of 2005 with a pretrial conference to be conducted on November 21, 2005. The

 parties are directed to complete discovery so that all outstanding discovery requests will

 be completed no later than November 1, 2005. The parties will be expected to fully comply

 with the local rules governing pretrial conferences, including without limitation Local Rule

 3.06.

         IT IS SO ORDERED.

         DONE and ORDERED at Ocala, Florida this 15th day of June, 2005.




 Copies to:    Counsel of Record
               Maurya McSheehy
               Milton H. Baxley II
